

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-71,868-02






JUAN ELIZALDE, Relator


v.


DALLAS DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. W05-51008-X 

IN CRIMINAL DISTRICT COURT NO. 6

FROM DALLAS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the Criminal District Court No. 6 of Dallas County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Dallas County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); stating that the
nature of the claims asserted in the application filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. art 11.07, § 3; or stating that Relator has not filed an
application for habeas corpus in Dallas County.  Should the response include an order designating
issues, proof of the date the district attorney's office was served with the habeas application shall
also be submitted with the response. This motion for leave to file a writ of mandamus shall be held
in abeyance until the respondent has submitted the appropriate response.  Such response shall be
submitted within 30 days of the date of this order.



Filed: October 27, 2010

Do not publish	


